                         UNITED STATED DISTRICT COURT
                           DISTRICT OF CONNECTICUT


                                         :
JACLYN PISCITELLI                        :
     Plaintiff                           :
                                         :
Vs.                                      :
                                         :
UNIVERSITY OF SAINT JOSEPH               :       OCTOBER 9, 2019
     Defendant                           :
                                         :

                                      COMPLAINT

INTRODUCTION

  1. This is an action for money damages, costs, attorneys’ fees and other relief as a

      result of Defendant’s violation of Title IX of the Educational Amendments of 1972,

      20 U.S.C. §1681, et. seq.

JURISDICTION

  2. Jurisdiction is based on the existence of a federal question pursuant to 28 U.S.C.

      § 1332.

PARTIES

  3. Plaintiff, Jaclyn Piscitelli is a resident of the state of Connecticut who resides at

      59 Mohawk Street, New Britain, CT 06053.

  4. Defendant University of Saint Joseph (“Defendant” or “USJ”) is an institution of

      higher education, located at 1678 Asylum Avenue, West Hartford, CT 06117. At

      all times relevant to this complaint, Defendant employed more than 15

      employees.




                                             1
  5. Defendant is an educational institution, as defined in 20 U.S.C. §1687, that

     receives Federal financial assistance.

FACTS

  6. Plaintiff began her employment with Defendant on or about June 14, 2011 as

     Assistant Registrar.

  7. In 2015, Plaintiff was hired into the position of Associate Athletic Director.

  8. As Associate Athletic Director, Plaintiff reported to Defendant’s Athletic Director

     Bill Cardarelli, a male (“Cardarelli”).

  9. Cardarelli held the position of Athletic Director at all relevant times to this action.

     Cardarelli stepped down from the position and a new Athletic Director was hired

     effective June 24, 2019.

  10. Throughout Plaintiff’s employment with Defendant, she performed her job duties

     and responsibilities diligently and completely and consistently received positive

     performance evaluations.

  11. Plaintiff’s lifelong dream and goal was to have a career in athletics at the

     collegiate level and to work as an Athletic Director at a college or university.

  12. Plaintiff’s employment as Associate Athletic Director represented a significant

     achievement toward her professional goals. Plaintiff was passionate about her

     job and devoted a great deal of her energy and focus to excelling in her work

     performance.

  13. In June 2017, Defendant announced that it would begin admitting males to its

     undergraduate programs for the 2018-2019 academic year.

  14. Prior to the fall of 2018, Defendant admitted only female undergraduate students.



                                               2
15. Prior to academic year 2018-2019, Defendant’s intercollegiate athletics program

   was comprised exclusively of women’s sports teams.

16. The transition of Defendant’s undergraduate programs to coeducational resulted

   in the creation of men’s athletic teams and the hiring of coaching staff for these

   new men’s teams.

17. In September 2018, Defendant hired James A. “Jim” Calhoun, a male

   (“Calhoun”), as Head Coach of Defendant’s new men’s basketball team. Calhoun

   had previously been employed as Head Coach of the University of Connecticut

   men’s basketball team from 1986 until September 2012, during which time that

   program came to national prominence and Calhoun became a celebrity.

18. Defendant gave Calhoun and his team preferential treatment including by

   diverting resources from women’s sports to do so.

19. In September 2018, Defendant hired Glen Miller, a male, (“Miller”) as Assistant

   Coach of Defendant’s new men’s basketball team.

20. Miller was hired at the request of Calhoun. Miller had previously worked as an

   assistant coach to Calhoun prior to Calhoun’s retirement.

21. In her position as Associate Athletic Director under Cardarelli, Plaintiff performed

   numerous duties and responsibilities of the Athletic Director, as Cardarelli was

   spending less time working prior to his retirement from the position.

22. Beginning almost immediately after Calhoun and Miller began their full-time

   employment with Defendant, the athletic department became a male-dominated,

   hostile work environment.




                                          3
23. Throughout the 2018-2019 academic year, Plaintiff had regular monthly one-on-

   one meetings with Defendant’s Vice President of Student Affairs, Ken Bedini,

   who is male, “(Bedini”) to discuss issues related to the athletic department and

   Defendant’s athletic programs.

24. Plaintiff reported unfair treatment she had suffered since the Athletic Department

   had become a male-dominated environment to Bedini on numerous occasions

   throughout the 2018-2019 academic year.

25. Defendant permitted Calhoun and Miller to transform the work environment in the

   athletic department to one that was openly hostile and disdainful toward women

   and where women were treated as second class citizens.

26. Following the hiring of Calhoun and Miller, Plaintiff was treated differently and

   less favorably than similarly situated male employees, was excluded from

   participation in activities and denied benefits provided to male employees.

27. Prior to the 2018-2019 academic year, Plaintiff had a private office.

28. Beginning in the fall of 2018, Plaintiff was forced to share her office with two

   newly-hired male coaches.

29. Beginning in fall 2018, Plaintiff’s male co-workers would frequently leave work to

   play golf with Calhoun during the workday, while Plaintiff remained at the office.

30. Plaintiff told Bedini that the males in the department would go off to play golf

   during the workday while she remained at the office.

31. In her position as Associate Athletic Director, Plaintiff held the role of Defendant’s

   NCAA Compliance Coordinator. In this role, Plaintiff was required to participate in

   weekly conference calls which were required to be confidential.



                                          4
32. Prior to the fall of 2018, Plaintiff was able to participate in these calls from her

   private office.

33. However, once Plaintiff was required to share her office with two new male

   employees beginning in the fall of 2018, she was prevented from performing this

   function of her position in her office.

34. Plaintiff asked Cardarelli where she could go to take these calls given the

   confidential nature of them and her now-shared office. In response, Cardarelli

   told Plaintiff to work in a locker room and take the calls there.

35. When Plaintiff then tried to discuss the situation further with Cardarelli and

   requested to work from home for the short time each week she needed to be on

   the NCAA Compliance conference, he walked out of the office, while Plaintiff was

   still speaking to him, so he could introduce his daughter to Calhoun.

36. The addition of numerous new athletic teams in 2018 resulted in a significantly

   increased workload for Plaintiff. Plaintiff requested assistance but was refused,

   contrary to the treatment afforded to a similarly situated male employee.

37. In November, 2018, after Plaintiff had requested assistance and had been

   refused it, Josh Ingham, a male, (“Ingham”) who held the position of Sports

   Information Director with Defendant in its Athletic Department, Ingham was

   granted a twenty (20) hour per week assistant, in addition to an intern and a

   Graduate Assistant (“GA”) to assist him.

38. Plaintiff made requests of Cardarelli and Bedini on multiple occasions in the fall

   of 2018 to discuss her workload and to request assistance. Despite her requests,

   including a formal request for a GA, Plaintiff was given no assistance.



                                             5
39. Despite being provided with significant assistance and resources, Ingham

   routinely failed to meet deadlines or to complete his work responsibilities.

40. Plaintiff was treated less favorably than Ingham, including with regard to staff and

   GA support.

41. During the 2018-2019 academic year, Ingham regularly failed to write and post

   post-game stories related to women’s sports in a timely manner, giving priority to

   men’s sports. Though Defendant’s administration was aware of this, no action

   was taken against Ingham. On one occasion, the coach of the women’s swim

   team, a female, complained that no post-meet story had been written about her

   team. Cardarelli was dismissive toward this coach and later stated that she

   “needs to calm down.”

42. Plaintiff advised Bedini of Ingham’s failure to perform his responsibilities relative

   to women’s sports to no avail.

43. During this time of increased work load and the decline of Cardarelli’s

   involvement, Plaintiff was under an enormous amount of stress due to her job

   and work environment. She was working almost constantly with little time off, at

   one point working 23 consecutive days.

44. Plaintiff had also worked 6 to 7 days a week for months before this without

   earning any comp time.

45. Due to the stress and medical symptoms she was experiencing, Plaintiff sought

   treatment with both her primary care physician and cardiologist for emotional

   distress.




                                           6
46. Bedini was aware that Plaintiff was performing aspects of Cardarelli’s job in

   addition to her own. During one of their monthly meetings, Plaintiff specifically

   discussed Cardarelli’s failure to perform the duties and responsibilities of the

   Athletic Director position which resulted in Plaintiff having to perform those duties

   and responsibilities.

47. Shortly after becoming full-time employees at USJ, Calhoun’s and Miller’s

   treatment of Plaintiff became increasingly hostile and belittling.

48. Calhoun consistently and repeatedly told Plaintiff to open his office door for him,

   even when he had his office keys in his hands, and without so much as a simple

   “hello”.

49. There was an instance in which Calhoun knocked a number of single-serve

   coffee “K-cups” onto the floor and stepped on them, creating a mess of coffee

   grounds and packaging on the floor and made Plaintiff clean them up, stating that

   if he made such a mess at home, his wife would clean up after him.

50. Cardarelli, who witnessed the K-cup incident, expressed to Plaintiff that he found

   the situation amusing and that he did not see anything wrong with Calhoun’s

   behavior. Cardarelli further asked Plaintiff, who Cardarelli was aware is not

   married, whether she would clean up after her husband in similar circumstances.

51. On another occasion, Calhoun made a statement to Plaintiff, “Well, you’re

   certainly hot”: using “hot” in its slang usage to mean physically or sexually

   attractive.

52. Miller also made numerous inappropriate comments to Plaintiff, including

   criticizing her for not being cheerful or smiling enough.



                                         7
53. On one occasion when Plaintiff had a serious, professional demeanor, Miller said

   to her “I’d swipe left too.” Miller’s statement was a reference to the popular dating

   app “Tinder”, in which users may swipe left to reject further contact with another

   user or swipe right to indicate sexual or romantic interest in another user.

54. Plaintiff felt this comment went too far and was too personal and considered

   reporting it to Defendant’s Human Resources department, but feared retaliation,

   particularly given Miller’s affiliation with Calhoun, who was favored and fawned

   over by Defendant’s administrators because of his celebrity status.

55. Plaintiff reported the inappropriate and sexually harassing comments of Calhoun

   and Miller to Cardarelli. No action was taken by Defendant in response to

   Plaintiff’s complaints.

56. In October 2018, during a meeting in which Miller, Plaintiff and Bedini were

   present, Miller expressed complaints about being expected to participate and

   having his team participate in “Midnight Madness”, an event coordinated by

   Plaintiff. Miller falsely claimed that he had not been informed of the Midnight

   Madness event, implying that Plaintiff had failed to perform her duties.

57. Plaintiff had previously sent Miller emails regarding the event and meeting

   invitations to discuss the event directly. Miller failed to respond or even

   acknowledge Plaintiff’s communications.

58. When Plaintiff discussed this with Miller after the meeting, Miller stated that he

   never read any of Plaintiff’s emails about the event or about anything else.

59. Plaintiff complained to Bedini about Miller’s conduct toward her related toward

   the Midnight Madness event.



                                          8
60. On two separate occasions in meetings, Miller asked Plaintiff questions he

   already knew the answers to and then interrupted Plaintiff while she was

   answering his questions.

61. Plaintiff complained to Bedini about Miller interrupting her and speaking over her

   in meetings.

62. On or about June 12, 2019, a meeting was held for the purpose of bringing the

   incoming Athletic Director up to speed on a broad range of issues related to

   athletics. This meeting was attended by a large proportion of athletic staff,

   including Plaintiff and Miller. During the meeting, Miller asked a question directed

   at Plaintiff and again interrupted her as she was answering. After the meeting,

   Miller approached Plaintiff and said “you’re feisty, I like it”, implying this turned

   him on sexually, and then proceeded to attempt to engage Plaintiff in play

   fighting by putting his fists up while asking “do you want to fight me?”

63. In late March 2019, it came to light that certain Title IX compliance requirements

   that were the responsibility of Defendant’s Athletic Director had not been

   performed by Cardarelli as required. Defendant’s administration contacted

   Cardarelli about his failure to perform certain compliance measures. Cardarelli

   deflected responsibility and directed Plaintiff and Mary Cooper (“Cooper’) to “fix

   this.” Plaintiff had previously advised Defendant’s Director of Human Resources,

   Deb Spencer (“Spencer”) of Cardarelli’s neglect of his job duties, particularly

   those that related to maintenance of and compliance with policies.

64. On or about March 27, 2019, Plaintiff spoke to Spencer, regarding Cardarelli’s

   failure to perform his duties relative to Title IX compliance and his insistence that



                                           9
   Plaintiff “fix” situations resulting from this failure. Spencer’s response was “I

   know, but there is nothing I can do.”

65. Plaintiff reported to Bedini that male staff and coaches routinely ignored her and

   would only communicate with Mr. Ingham or other male employees instead of

   Plaintiff regarding matters within Plaintiff’s job duties.

66. In or about late May, early June 2019, Calhoun called Plaintiff into his office to

   complain about Cooper. In this conversation, Calhoun twice referred to Cooper,

   the only female employee working in the Athletic Department office other than

   Plaintiff, as a “bitch” and said “when Mary asks me what to do with work I hand

   her, I want to tell her to ‘shove it up her ass.’” Calhoun went on to say he was

   ready to go to Defendant’s President to have Cooper fired.

67. Plaintiff promptly informed Cardarelli and Bedini of what Calhoun said regarding

   Cooper. Plaintiff told Bedini she was informing him so that someone was aware

   of Calhoun’s behavior and to seek his advice regarding Calhoun’s comments

   about Cooper.

68. During the spring 2019 semester, Plaintiff stated to Bedini that the Athletic

   Department had become a “boys club”.

69. During the 2018-2019 academic year, Plaintiff stated to Cardarelli that the

   athletic department and the office environment had become a “boys club” since

   the arrival of Calhoun and Miller.

70. Bedini took no action to investigate or remedy Plaintiff’s numerous complaints

   and reports related to the negative and hostile treatment toward women in the

   athletic department and related to the male-dominated sexist atmosphere that



                                           10
   had become pervasive over the 2018-2019 academic year. Instead, Bedini

   ignored and brushed aside Plaintiff’s complaints, reacting in such a way as to

   suggest that Plaintiff was causing trouble by opposing sexist conduct in the

   workplace.

71. During the spring 2019 semester, Plaintiff expressed to Bedini that she was

   considering seeking other employment because her working environment had

   become almost intolerable given the “boys club” atmosphere that had taken over.

72. Rather than taking any action to remedy the hostile work environment, Bedini

   instead told Plaintiff that she had “better not be [at USJ] come the fall” and on

   another occasion said that she “better not fucking be here [the following

   academic year]”.

73. On June 21, 2019, Plaintiff was summoned to a meeting with Spencer and Bedini

   in which she was informed that her employment was terminated effective

   immediately.

74. After being informed of the termination of her employment, Plaintiff asked if she

   had done something wrong. Bedini responded “no, we’re moving in a new

   direction.”

75. On the same day of Plaintiff’s termination, June 21, 2019, Ingham was promoted

   to Assistant Athletic Director.

76. On July 11, 2019, Plaintiff’s position was posted on Defendant’s website as an

   open position.

77. Defendant has since hired a male to replace Plaintiff.




                                         11
   COUNT ONE: TITLE IX RETALIATION IN VIOLATION OF 20 U.S.C. §1681(a)

   et. seq.

78. Plaintiff engaged in activity protected by law pursuant to 20 U.S.C. §1681(a) et.

   seq. Specifically, Plaintiff engaged in protected activity when she reported

   discriminatory conduct toward women, harassment of a sexual nature, and

   harassment on the basis of sex to her supervisor, to Defendant’s Human

   Resources department, and to Defendant’s Vice President for Student Affairs.

79. Defendant was aware of Plaintiff’s protected activity.

80. Defendant ignored Plaintiff’s reporting of unfair treatment on the basis of sex as

   demonstrated above and failed to take action or to investigate her complaints.

81. Defendant subjected Plaintiff to adverse action, including but not limited to the

   termination of her employment, in retaliation for Plaintiff engaging in protected

   activity.

82. Defendant retaliated against Plaintiff in violation of 20 U.S.C. §1681(a) et. seq.

   when it terminated her employment.

83. As a direct result of Defendant’s violation of 20 U.S.C. §1681(a) et. seq., Plaintiff

   has suffered loss of wages and benefits, past and future, and has suffered non-

   economic damages in the nature of emotional distress and loss of enjoyment of

   life’s activities. Plaintiff has also incurred attorneys’ fees and costs in vindicating

   her rights under law.




                                          12
                               DEMAND FOR RELIEF


      WHEREFORE, Plaintiff claims A TRIAL BY JURY and judgment against
Defendant as follows:
      1. Compensatory damages for economic loss of wages and benefits of
         employment pursuant to 20 U.S.C. § 1681(a) et seq. and federal common
         law;
      2. Equitable relief in the form of back pay and reinstatement pursuant to 20
         U.S.C. § 1681(a) et seq. and federal common law;
      3. Compensatory damages for non-economic loss of harm to reputation,
         emotional distress, loss of enjoyment of profession, and loss of enjoyment of
         life pursuant to 20 U.S.C. § 1681(a) et seq. and federal common law;
      4. Punitive damages pursuant to pursuant to 20 U.S.C. § 1681(a) et seq. and
         common law;
      5. Attorney’s fees and costs of litigation pursuant to 42 U.S.C. § 1988 ;
      6. Pre-judgment interest; and
      7. Such other further and different relief as this Court may deem just and
         equitable.

                                        PLAINTIFF,
                                        JACLYN PISCITELLI


                                 By:    /s/Magdalena B. Wiktor____
                                        Magdalena B. Wiktor (ct28647)
                                        Jacques J. Parenteau (ct09771)
                                        Madsen, Prestley & Parenteau, LLC
                                        105 Huntington Street
                                        New London, CT 06320
                                        Tel: (860) 442-2466
                                        Fax: (860) 447-9206
                                        E-mail: mwiktor@mppjustice.com
                                               jparenteau@mppjustice.com
                                        Attorneys for the Plaintiff




                                           13
